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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                            Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        )                            Case No. 19-36313 (DRJ)
                                          )
            Debtors.1                     )                            (Jointly Administered)
                                          )
_________________________________________ )

                           DEBTORS’ NOTICE OF FILING OF REVISED
                               PROPOSED INTERIM DIP ORDER

         PLEASE TAKE NOTICE that on November 12, 2019, the debtors and debtors-in-

possession, and their debtor affiliates (collectively, the “Debtors”) in the above-captioned

chapter 11 cases filed their Motion of Debtors for Entry of Interim and Final Orders,

(I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority Post-Petition Financing,

and (B) Use Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense

Claims, (III) Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief (the “Motion”), at Dkt. No. 72.



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  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
(9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC (3940);
Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information Systems, LLC
(0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean Foods North
Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual
Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC (7782);
Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West
II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889);
DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc.
(8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing
and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream
Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714);
Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh
Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200).
The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.


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         PLEASE TAKE FURTHER NOTICE that the Debtors hereby file, attached hereto as

Exhibit A, the Debtors’ revised proposed Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362,

363, 364, 503, 506, 507, and Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority

Post-Petition Financing, and (B) Use Cash Collateral, (II) Granting Liens and Superpriority

Administrative Expense Claims, (III) Providing Adequate Protection to Prepetition Secured

Parties, (IV) Scheduling a Final Hearing, and (IV) Granting Relief (the “Interim Order”).

         PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a redline of

the Interim Order, reflecting changes to the version originally uploaded with the Motion.

Dated: November 13, 2019
Houston, Texas
                                               Respectfully submitted,
                                               NORTON ROSE FULBRIGHT US LLP

                                               /s/ William R. Greendyke
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                                               -and-

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                                           Proposed Counsel to the Debtors and Debtors in
                                           Possession




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